
In an action for an accounting and for a money judgment plaintiff appeals from so much of an order as denied its motion for the appointment of a receiver pendente lite; and two of the three defendants appeal from so much of the same order as enjoined them from diminishing their account below $100,000 pending the entry of final judgment. In Appeal No. 1 herein (ante, p. 739, decided herewith) we reversed an order denying the motion of the defendants-appellants-respondents on these cross-appeals for an order dismissing the complaint as to them and granted the motion. Order modified by striking from the end of the first decretal paragraph thereof the words “ and it is further,” and by striking from the order the entire second decretal paragraph thereof. As so modified, the order is affirmed, with ten dollars costs and disbursements to defendant-respondent and to defendants-appellants-respondents, payable by plaintiff-respondent-appellant. No opinion. Lazansky, P. J., Hagarty, Adel, Taylor and Close, JJ., concur.
